     Case 1:19-cv-01298-KBJ Document 2-1 Filed 05/06/19 Page 1 of 26




     Superior Court of the District of_ Columbia
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           Washington Metropolitan Area Transit
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           Authority                                                                  K◊'; 9K+X••K
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 Firm x v] 9b          Simeone & Miller, LLP
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A. CONTRACTS                                                   COLLECTION CASES

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                              Information Sheet, Continued

 C. OTHERS
       O   01 Accounting                        O    i 7 Merit Personnel Act (OEA)
       O   02 Att. Before Judgment                  (D.C. Code Tttle !, Chapter 6)
       O   05 Ejectmcnt                         O   18 Product Liability
       O   09 Special Writ/Warrants
            (DC Code § 11-941 )                 O   24 Application to Confirm, Modify,
       O   10   Traffic Adjudication                 Vacate Arbitration Award (DC Code§ l~l401)
       O   11   Writ of Replevin                0   29 Merit Personnel Act (OHR)
       O   12   Enforce Mechanics Lien          O   31 Housing Code Regulations
       D   16   Declaratory Judgment            O   32 Qui Tam
                                                O   33 Whistleblower




 II.
       D 03 Change of Name                      D   15 Libel of Information              O   21 Petition for Subpoena
       O   06 Foreign Judgment/Domestic         D   l 9 Enter Administrative Order as           (Rule 28-1 (b)]
       O   08 Foreign Judgment/International          Judgment f D.C. Code §             D 22 Release Mechanics Lien
       O   l3 Correction of Birth Certificate         2-1802.◊3 (h) or 32- I 51 9 (a)]   O   23 Rule27(uXI)
       O   14 Correction of Marriage          O 20 Master Meter (D.C. Code §                  (Perpetuare Testimony)
              Certificare                             42-330 I, et scq.)                 D 24 Petition for Structured Settlement
       O   26 Petition for Civil Asset Forfeiture (Vehicle)                              O   25 Petition for Liquidation
       D   27 Petition for Civil Asset Forfeiture (Currency)
       O   28 Petition for Civil Asset Forfeiture (Other)



D. REAL PROPERTY

   O 09 Reo! Property-Real Estate              O 08 Quiet Title
   O 12 Specific Pcrformuncc                   O 25 Liens: Tax/ Waler Consent Granted
   O 04 Condemnation (Emmeru Oorn~in)          OJO Liens: Tax/ Weter Consent Denied
   O 10 Mortgage Foreclosure/Judicial Sale O 31 Tax Lien Bid OIT Certificate Consent Granted
   O 11 Petition for Civil Asset Forfeiture (RP)




                      Attorney's Signature
                                                                                         -~
                                                                                          Date




CV-4961 June 2015
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          THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                                         Civil Division

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AREA TRANSIT AUTHORITY             Case No.:                              'il
600 5th Street, NW                                          Calendar No'.-~
Washington, DC 20001                                        Judge:

        SERVE:
        Susan Serrian
        600 5th Street, NW
        Washington, DC 20001

                        Defendant.

                                        COMPLAINT

        COMES NOW Plaintiff Jane Doe, by and through the undersigned counsel, and

makes this Complaint against Defendant Washington Metropolitan Area Transit

Authority. ln support thereof, Plaintiff states as follows:

                                               Parties

l.      Plaintiff is an individual who is proceeding anonymously in this matter.

        Defendant Washington Metropolitan Area Transit Authority ("WMATA") is an

        entity formed by compact that provides mass transportation service throughout the

        District of Columbia and the State of Maryland.

                                        Jurisdiction

3.      TI1.is Court has subject matter jurisdiction over this action pursuant to§ 11-921 of

        the D.C. Code in that this action was filed in the District of Columbia and no

        federal court has exclusive jurisdiction over this matter.
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4.         This Court has personal jurisdiction over Defendant pursuant to§ 13-422 of the

           D.C. Code in that Defendant is domiciled in, is organized under the laws of,

           and/or maintains its principal place of business in the District of Columbia.

                                       Factual Background

5.         On or about April 12, 2016, Plaintiff was a passenger aboard a Red Line train that

           was owned and/or operated by Defendant WMA TA at or near the Glenmont

           Metro station located at 12502 Georgia Ave, Glenmont, MD 20906.

6.        On that same date, John Prentice Hicks was also a passenger aboard the same

          train as Plaintiff at or near the Glenmont Metro station.

7.        At approximately I 0:00 a.m. on or about April 12, 2016, John Prentice Hicks

          forced Plaintiff behind a darkened and secluded partition in one of the train cars

          and sexually abused her including attempting to enter Plaintiffs vagina with his

          penis and forcing her to perform oral sex on him at knífe point.

8.        During the course of his attack on Plaintiff, John Prentice Hicks cut Plaintiff's

          finger and/or hand with a knife.

9.        Approximately one week prior ro the sexual abuse, John Prentice Hicks had

          exposed himself to other WMATA patrons and masturbated on another Red Line

          train that was owned and/or operated by Defendant.

1 O.      The prior incident was captured by an eyewitness on video and reported to

          Defendant.

11.       Prior to the sexual abuse that is the focus of this lawsuit, Defendant had îdentified

          John Prentice Hicks as the person who exposed himself and masturbated on one

          of ils trains.




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 12.     However, Defendant failed to take appropriate steps to either apprehend John

         Prentice Hicks prior to the incident, prevent him from using the Wìv1ATA system,

         or warn passengers of John Prentice Hicks' potential presence and the danger to

         them.

13.      Defendant knew or reasonably should have known that given John Prentice Hicks'

         prior sexual acts on its train he represented a danger ro its passengers and either

         could not control or refused to control his sexual urges.

14.      Therefore, Defendant had or should have had an increased awareness of the

         danger that John Prentice Hicks would or could commit additional crimes that

         were sexual in nature like the incident that is focus of this lawsuit.

15.      Defendant further knew or should have known that the darkened partitions on its

         trains behind which John Prentice Hicks assaulted Plaintiff, allowed for potential

         assailants such as John Prentice Hicks to shield their behavior from view.

16.     Defendant also knew or should have known that the darkened and secluded

        partitioned area in the train created an environment in which crimes can more

        easily be committed.

17.     Therefore, the incident that is the focus of this lawsuit was or should have been

        reasonably foreseeable to Defendant WNfATA.

18.     The injuries described in this Complaint were due to the violations of law and

        negligence of Defendant. Defendant's violations of law and negligence include,

        but are not limited to, failing to take proper steps to ensure the safety of

        passengers on its trains; failing to take proper steps to properly warn passengers of

        John Prentice Hicks; failing lo inform the employees including, but not limited to,

        attendants and personnel on the trains and at the train stations of the dangers of


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         John Prentice Hicks; failing to properly attempt to apprehend John Prentice Hicks

         following his masturbation and exposure of himself on a WMA TA train; failing to

         take steps to prevent John Prentice Hicks from entering the WMATA system

         following his masmrbation and exposure; failing to adequately recognize a

         dangerous hazard/dangerous hazards on its trains; failing to adequately remedy a

         known dangerous hazard/dangerous hazards on its trains; using a darkened

         partition which allowed for a secluded area for potential assaults; failing to

         maintain safe trains by failing to replace or remove the darkened and secluded

         partitioned areas of its trains; failing to make reasonable efforts to protect Plaintiff

         against sexual abuse while she was a passenger on Defendant's train; failing to

         ensure the peaceful completion of Plaintiff's journey; and failing lo exercise

         ordinary and reasonable care under the circumstances. In violation of these duties,

         Defendant's acts and/or omissions were a cause of the aforementioned sexual

         abuse and injuries to Plaintiff.

19.      As a direct and proximate result of the collision, Plaintiff suffered bodily injuries

         that have caused, and will continue to cause, physical and mental pain and

         suffering for the rest of her life. Plaintiff has incurred, and will continue to incur,

         medical, therapeutic, and related expenses, including lost wages.

20.      Plaintiff has complied with all condii ions precedent to the filing of this

        Complaint.

                        Count I: Negligence of Defendant WMA TA

21.     Plaintiff restates and realleges each and every allegation set forth above as if fully

        set forth herein.




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 22.      At all times mentioned herein, Defendant had the duty to act in a reasonably safe

          manner, which included taking proper steps to ensure the safety of passengers on

          its trains; taking proper steps to properly warn passengers of John Prentice Hicks;

          informing its employees including, but not limited to, attendants and personnel on

          the trains and at the train stations of the dangers of John Prentice Hicks; properly

         attempting to apprehend John Prentice Hicks following his masturbation and

         exposure of himself on a WwfATA train; taking steps to prevent John Prentice

         Hicks from entering the WMA TA system following his masturbation and

         exposure; adequately recognizing a dangerous hazard/dangerous hazards on its

         trains; adequately remedying a known dangerous hazard/dangerous hazards on its

         trains; not using a darkened partition which allowed for a secluded area for

         potential assaults; maintaining safe trains by replacing or removing the darkened

         and secluded partitioned areas of its trains; making reasonable efforts to protect

         Plaintiff against sexual abuse while she was a passenger on Defendant's train;

         ensuring the peaceful completion of Plaintiffs journey; and exercising ordinary

         and reasonable care under the circwnstances.

23.      In violation of its duties, Defendant's acts or omissions were a cause of the

         aforementioned sexual abuse and injuries to Plaintiff.

24.      As a proximate result of Defendant's negligence, Plainti ff suffered injuries and

         damages as set forth above.

25.      Given John Prentice Hicks' previous known activities on Defendant \Vtv1A TA 's

         transportation system, it was reasonably foreseeable that he would attack Plaintiff

26.      The above injuries were caused solely and proximately by Defendant's

         negligence, without any contributory negligence on the pait of Plaintiff.


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                                 Count II: Punitive Damages

27.      Plaintiff restates and realleges each and every allegation set forth above as if fully

         set forth herein.

28.      At all material times, Defendant WMATA acted with a willful disregard for the

         rights of .Plaintiff by not adequately reacting to John Prentice Hicks' masturbation

         and exposure of himself in a timely manner, by not taking adequate steps to

         protect other passengers like Plaintiff from the dangers that John Prentice Hicks

         presented, and by choosing to include the darkened and secluded partitioned area

         on its trains which created a dangerous environment for people like John Prentice

         Hicks to commit crimes.

29.      At all material times, Defendant WMA TA's conduct with regard to its insufficient

         responses to John Prentice Hicks' masturbation and exposure of himself and its

         choice to include the darkened and secluded partitioned areas on its trains as

         alleged previously in this Complaint was outrageous and reckless towards

         Plaintiffs safety.

30.      At all material times, Defendant WMATA 's officers, directors, or managing

         agents participated in the acts and omissions alleged in this Complaint, authorized

         the acts or omissions alleged in this Complaint, or approved the acts or omissions

        alleged in this Complaint before or after they were done.

31.     Defendant WMATA's actions as alleged need to be prevented going forward and

        other common can-i ers need to be warned of the dangers of this type of conduct.

32.     Therefore, Defendant Wrv1A TA ·s conduct as alleged in this Complaint justifies an

        award of punitive damages to Plaintiff.

                                                  *       *


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        WH EREFORE , Plaintiff respectfully requests judgment against Defendant in an

amount to be determined at trial, but believed to be no more than ten million dollars

($10,000,000.00) in compensatory damages, ten million dollars ($10,000,000.00) in

punitive damages, plus costs of suit, pre- and post-judgment interest, and such other and

further relief as this Court deems just and proper.




Dated: April 3, 2019                                  RESPECTFULLY SUBMITTED,



                                                      ~18952
                                                      Craig D. Miller, #459784
                                                      Michael C. Robinett, #503231
                                                      SIMEONE & MILLER, LLP
                                                      113 O Connecticut Ave, NW
                                                      Suite 350
                                                      Washington, DC 20036
                                                      (202) 628-3050
                                                      Fax: (202) 466-1833
                                                      mtsun(?'ilsimeonemiller.com
                                                      cm.illerra¡simeonemiller.com
                                                      mrobinett@simeonerniller.com
                                                      Counsel for Plaintiff

                                      *      *




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                                      Jury Demand

        Plaintiff, by and through the undersigned counsel and pursuant to Rule 38 of the

District of Columbia Rules of Civil Procedure, hereby demands trial by jury of all issues

in this matter.

Dated: April 3, 2019                                 RESPECTFULLY SUBMI1TED,



                                                    Matthew P. Ts     #1018952
                                                    Craig D. Miller, #459784
                                                    Michael C. Robinett, #503231
                                                    SilvŒONE & MILLER, LLP
                                                    1130 Connecticut Ave, NW
                                                    Suite 350
                                                    Washington, DC 20036
                                                    (202) 628-3050
                                                    Fax: (202) 466-183 3
                                                    m tsun(â),simeonemil 1er.com
                                                    cmiller@simeonemiller.com
                                                    mrobinett@simeonemiller.com
                                                    Counsel for Plaintiff




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                                                            Superior Court of the District of Columbia
                                                                        CIVIL DJVJSION
                                                                 500 Indiana Avenue, N.W., Suie~ 5000
                                                            Washington, D.C. 20001 Telephone: (202) 879-1133




                                Jane Doe
                                                                                Plaintiff
                                                                                                                                           1Qcc~0021J5
                                               vs.
                                                                                                                       Case Number
            Washington Metropolitan Area Transit Authority
            Serve: Susan Serrian. 600 5th Street, NW. Washiirn:ton, D.C.20001
                                                                             Defendant


                                                                           SUiV[MONS
  To the above named Defendant:

         You are hereby summoned and required to serve an Answer to the attached Complaint, either
 personally or through an attorney, within twenty (20) days after service of this summons upon you, exclusive
 of the day of service. If you are being sued as an officer or agency of the United States Government or the
 District of Columbia Government, you have sixty (60) days after service of this summons to serve your
 Answer. A copy of the Answer must be mailed to the attorney for the party plaintiff who is suing you. The
 attorney's name and address appear below. If plaintiff has no attorney, a copy of the Answer must be mailed
 to the plaintiff at the address stated on this Summons.

              You are also required to file the original Answer with the Court in Suite 5000 at 500 Indiana Avenue,
 N.W., between 8:30 a.m. and 5:00 p.rn., Mondays through Fridays or between 9:00 a.m. and t2:00 noon on
 Saturdays. You may file the original Answer with the Court either before you serve a copy of the Answer on
 the plaintiff or within five (5) days after you have served the plaintiff. If you fail ro file an Answer, judgment
 by default may be entered against you for rhe relief demanded in the complaint.
   Matthew P. Tsun
Name of Plaintiff's Attorney

  I 130 Connecticut Ave., NW, Suite 350                                                   By                                                          .,.\
Address                                                                                                - ,. .        .,      _:.gJep_µJfC rk \
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     (202) 628-3050                                                                       Date        ·::-:<~"'. · · ;/ L,:Í)\ ~ --'-,µ'~·}....,~r-=  ~   · .-_
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  IMPORTANT: IF YOU FAJL TO FILE AN ANSWER WITHTN THE TIME STATF.D ABOVE, OR IF, AFTER YOU
ANSWER, YOU FAIL TO APPEAR AT ANY TIME THE COURT NOTIFIES YOU TO DO SO. A JUDGMENT BY DEFAULT
MAY BE ENTERED AGAJNST YOU FOR THE MONEY DA.MAGES OR OTHER REUEF DEMANDED IN THE
COMPLAINT. IF THJS OCCURS, YOUK WAGES MA Y BE ATTACHED OR WfTHHELD OR PERSO/\Al. PROPERTY OR
REAL ESTATE YOU OVv'N MA Y BE TAKEN AND SOLD TO PAY THE JUDGMENT. JF YOU fNTEND TO OPPOSE THIS
1\CTJON. DO NOT&'IIL TO ANSWEI? WITHIN THE R..E.QUIRED VMJ:,~

   If you wish to talk to a lawyer and feel that you cannot afford to pay a fee to a lawyer, promptly contact one of the offices of the
Legal Aid Society (202-628-! I 61) or            me
                                             Neighborhood legal Services (202-682-2700) for help or come to Suite 5000 at 500
Indiana A venue, N. W., for more information concerning places where you may ask for such help.

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                                                                  DIVISlÓN CIVIL
                                                                 500 Indiana Avenue, N. W., Suite 5000
                                                            Washington, D.C. 20001 Teléfono: (202) 879-1133



                         Jane Doe

                                   contra
                                                                          Demandanre                               19~002185
       Washington       Metropolitan Area Transit
                                              Authority                 Número de Caso:
       Serve: Susan Serrian, 600 5th Street, NW, Washington, D.C. 20001
                                                                          Demandado

                                                                          CITATORIO
                                                                                                                                               • \i
 AJ susodicho Demandado:
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          Por la presente se le cita a comparecer y se le require entregar una Contestación a 1/:l{é';and¡¡ adjunta, sea en
 persona o por medio de un abogado, en el plazo de veinte (20) días contados de~p,}lés que ust~d,naya recibido este
 citatorio, excluyendo el día mismo de la entrega del ciiatorio. Si usted está sieng,o dê(Eandado~e;(calidad de oficial o
 agente del Gobierno de los Estados Unidos de Norteamérica o del Gobiern~èÎî:Disfr~e· Columbia, tiene usted
 sesenta (60) días contados después que usted haya recibido este citatorio,..,para<e~~gar        Contestación. Tiene quesu
 enviarle por correo una copia de su Contestación al abogado de la part~emañdante. El nombre y dirección del
 abogado aparecen al final de este documento. Si el demandado no tiene abomiif~tie~que enviarle al demandante una
 copia de la Contestación por correo a la dirección que aparece en est~             l,, , ""
                                                                   .-•••'<Iii~;- ""
          A usted también se le require presentar la Contestac{n orig'~J )!:,,Tribunal en la Oficina 5000, sito en 500
 Indiana Avenue, N.W., entre las 8:30 a.m. y 5:00 p.rn., d~)-\l¥~1$.viemelo entre las 9:00 a.rn. y las 12:00 del mediodía
 los sábados. Usted puede presentar la Contestación original ante"_si◄ Juez ya sea antes que Usted Je entregue al
 demandante una copia de !a Contestación o en el plazo dç cinco (Sì días de haberle hecho la entrega al demandante. Si
 usted incumple con presentar una Contestación. podría dictarse 'un fallo en rebeldía contra usted para que se haga
 efectivo el desagravio que se busca en la demanda.            ·
  Matthew P. Tsun                                  ·•·;                     SECRETARIO DEL TRIBUNAL
Nombre del abogado del Demandante
  1130 Connecticut Ave NW, Suite 350
                                                                                     Por:
Dirección                                                                                                          Subsecretario
 Washington, DC 20036

    (202j 628-3050                                                                   Fecha
Teléfono
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                             ••..,   -ê:~-:,,,.

   IMPORTANÍ'E: SI tJSTED INCUMPLE CON PRESENTAR UNA CONTESTACJÓN EN EL PLAZO ANTES
MENCIONADO, O,,SI LÙEGO DE CONTESTAR, USTED NO COMPARECE CUANDO LE AVISE EL JUZGADO. PODRÍA
DICTARSE UN FALÎ:O EN REBELDÍA CONTRA USTED PARA QUE SE LE COBRE LOS DAÑOS Y PERJUICIOS U OTRO
DESAGRA VlO QUE           SB
                    BUSQUE EN LA DDvti\NDA. SI ESTO OCURRE, PODRÍA.~ RETENERLE SUS fNGRESOS, O
PODRÍAN TOMAR SUS BIENES PERSONALES O RAÍCES Y VENDERLOS PARA PAGAR EL FALLO. SI USTED
PRETENDE OPONERSE A ESTA ACCIÓN,                            sa
                                    DF;JE DE CONTESTAR LA DEMAND.1 Dl;!·.F/1(0 DEL Pl.JZJ) E.'<!Çlf)_Q.

    Si desea converser con un abogado y le parece que no puede afrontar eì costo de uno, llame promo a una de nuestras oficinas del
Legal Aid Society (202-628-l 16lJ o el Neighborhood Legal Services (202-682-2700) para pedir ayuda o venga a la Oficina 5000
del 500 Indiana 1\ venue. N. W_, para informarse dc otros lugares donde puede pedir ayuda JI respecto.

                                                              Vea al dorso el original en inglés
                                                             See reverse side for English originai


                                                                                                                                                      CASUM.dc>c
             Case 1:19-cv-01298-KBJ Document 2-1 Filed 05/06/19 Page 13 of 26




                           SUPERJOR COURT OF THE DISTRICT O.F COLUMBIA
                                                 CIVIL DIVISION
                                               Civil Actions Branch
                            500 Indiana Avenue, N.W., Suite 5000, Washington, D.C. 20001
                               Telephone: (202) 879-1133 • Website: www.dccourts.gov

 JANE DOE
     Vs.                                        C.A.No.                                2019CA002185B
 \V ASHING TON METROPOLITAN AREA TRANSIT AUTHORJTY
                                   INITIAL ORDER AND ADDENDUM

     Pursuant to D.C. Code§ 11-906 and District of Columbia Superior Court Rule of Civil Procedure
 ("Super. Ct. Civ. R.") 40-1, it is hereby ORDERED as follows:

      ( 1) Effective this date, this case has assigned to the individual calendar designated below. All future filings
in this case shall bear the calendar number and the judge's name beneath the case number in the caption. On
filing any motion or paper related thereto, one copy (for the judge) must be delivered to the Clerk along with the
original.

     (2) Within 60 days of the filing of the complaint, plaintiff must file proof of serving on each defendant:
copies of the summons, the compia.int, and this Initial Order and Addendum. As to any defendant for whom
such proof of service has not been filed, the Complaint will be dismissed without prejudice ·for want of
prosecution unless the time for serving the defendant has been extended as provided in Super. Ct. Civ. R. 4(m).

     (3) Within 21 days of service as described above, except as otherwise noted in Super. Ct. Civ. R. 12, each
defendant must respond to the complaint by filing an answer or other responsive pleading. As to the defendant
who has failed to respond, a default and judgment will be entered unless the time to respond has been extended
as provided in Super. Ct. Civ. R. 55(a).

     (4) At the lime and place noted below, all counsel and unrepresented parties shall appear before the
assigned judge at an initial scheduling and settlement conference to discuss the possibilities of settlement and to
establish a schedule for the completion of all proceedings, including, normally, either mediation, case evaluation,
or arbitration. Counsel shall discuss with their clients Q!ÎOr to the conference whether the clients are agreeable to
binding or non-binding arbitration. This order is the only notice that parties and counsel will receive
concerning this Conference.

      (5) Upon advice that the date noted below is inconvenient for any party or counsel, the Quality Review
Branch (202) 879-1750 may continue the Conference once, with the consent of all parties, to either of the two
succeeding Fridays. Request must be made not less than seven business days before the scheduling conference
date.
No other continuance of the conference will be granted except upon motion for good cause shown.

     (6) Parties are responsible for obtaining and complying with all requirements of the General Order for Civil
cases, each judge's Supplement to the General Order and the General Mediation Order. Copies of these orders
are available in the Courtroom and on the Court's website http://www.dccourts.gov/.

                                                              Chief Judge Robert E. Morin
Case Assigned to: Judge JOSE M LOPEZ
Date: April 4, 2019
Initial Conference: 9:30 am, Friday. July 12, 20 i 9
Location: Courtroom 212
            500 Indiana Avenue N.W.
            WASHINGTON, DC 20001
                                                                                                   CAIO-60
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                         ADDENDUM TO TNITlAL ORDER AFFECTING
                           ALL MEDICAL MALPRACTICE CASES

         In accordance with the Medical Malpractice Proceedings Act of 2006, D.C. Code§ I 6-2801,
 et seq. (2007 Winter Supp.), "(a]fter an action is filed in the court against a healthcare provider
 alleging medical malpractice, the court shall require the parties to enter into mediation, without
 discovery or. if aJI parties agreej.] with only limited discovery that will not interfere with the
 completion of mediation within 30 days of the Initial Scheduling and Settlement Conference
 ("!SSC"), prior to any further litigation in an effort to reach a settlement agreement. The early
 mediation schedule shall be included in the Scheduling Order following the ISSC. Unless all
 parties agree, the stay of discovery shall not be more than 30 days after the ISSC.''
 D.C. Code§ 16-2821.

        To ensure compliance with this legislation, on or before the date of the ISSC, the Court will
notify all attorneys and pro se parties of the dale and time of the early mediation session and the
name of the assigned mediator. Information about the early mediation date also is available over
the internet at https.z/www.dccourts.gov/pa/. To foci li tate this process, all counsel and pro se
parties in every medical malpractice case are required to confer, jointly complete and sign an
EARL Y MEDIATION FORM, which must be filed no later than ten (10) calendar days prior to the
ISSC. D.C. Code § 16-2825 Two separate Early Mediation Forms are available. Both forms may be
obtained at vvw\.v.dccourts.gov/medmalmediation. One form is to be used for early mediation with a
mediator from the multi-door medical malpractice mediator roster; the second form is to be used for
early mediation with a private mediator. Both forms also are available in the Multi-Door Dispute
Resolution Office, Suite 2900, 41 O E Street, N. W. Plaintiffs counsel is responsible for eFiling the
form and is required to e-mail a courtesy copy to earlymedmal@dcsc.gov. Pro se Plaintiffs who
elect not to eFile may file by hand in the: Multi-Door Dispute Resolution Office.

       A roster of medical malpractice mediators available through the Court's Multi-Door Dispute
Resolution Division, with biographical information about each mediator, can be found at
www.dccourts.gov/medmalmecliation/mediatorprofiles. All individuals on the roster are judges or
lawyers with at least 1 O years of significant experience in medical malpractice litigation.
D.C. Code§ ! 6-2823(a). Jf the parties cannot agree on a mediator, the Court will appoint one.
D.C. Code§ I 6-2823(b).

        The following persons are required by statute to artend personally the Early Mediation
Conference: (1) alt parties; (2) for parties that are not individuals, a representative with settìement
authority; (3) in cases involving an insurance company, a representative of the company with
settlement authority; and (4) attorneys represenung each party with primary responsibility for the
case. D.C. Code § 16-2824.

        No later than ten ( l O) days after the early mediation session has terminated. Plaintiff must
eFile with the Court a report prepared by the mediator, including a private mediator, regarding:
(I) attendance; (2) whether a settlement was reached; or, (3) if a settlement was not reached, any
agreements to narrow the scope     or  the dispute, limit discovery. facilitate future settlement, hold
another mediation session, or otherwise reduce the cost and time of trial preparation.
D.C. Code§ 16-2826. Any Plaintiff who is pro se may elect to tile the report by hand with the Civil
Actions Branch. The forms to be used for early mediation reports are available at
www.dccourts.gov/medrnalmediation.

                                                             Chief    Judge     Robert    E.    Morin


                                                                                               CAJO-60
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              THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                                 Civil Division

JANE DOE                                     F ED
                                       CML         . BRANCH
                        Plaintiff,       A          2019
v.

WASHINGTON METROPOLIT~ ' ~--t~-'"T',";';r;;-;:'__,.
                                                                        ,::1 9 - O .O 2 1    s5
AREA TRANSIT AUTHORITY


                        Defendant.

     PLAINTIFFS' MOTION FOR LEA VE TO PROCEED UNDER PSEUDONYM AND
       MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT THEREOF

        Plaintiff, Jane Doe, by and through her undersigned counsel, respectfully requests that

this Court grant her leave to proceed under pseudonym. Plaintiff requests this leave to prevent

the disclosure of her identity, which would cause irreparable harm. The factual and legal support

for this Motion is set forth herein.

                                              FACTS

       This action arises out of an incident of sexual abuse and rape that occurred on or about

April 12, 2016 on a Red Line train that was owned and/or operated by Defendant Washington

Metropolitan Area Transit Authority ("W~TA"). On that morning, Plaintiff was a passenger

on a Red line train at or near the Glenmont metro station located at 12502 Georgia Ave.,

Glenmont, MD 20906. On that same day, John Prentice Hicks was also a passenger aboard the

same Red line train as Plaintiff at or near the Glenmont metro station.           At approximately

1 0:00am on or about April 12, 2016, John Prentice Hicks forced Plaintiff behind a darkened and

secluded partition in one of the train cars and sexually abused Plaintiff including attempting to

enter Plaintiff's vagina and forcing her to perform oral sex on him at knife point.
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        Approximately one week prior to this sexual abuse, John Prentice Hicks had exposed

himself to other WMA TA patrons and masturbated on another Red line train that was owned

and/or operated by Defendant.        The incì&.nt was videotaped by a witness and reported to

Defendant WMA TA. Defendant WMATA had identified John Prentice Hicks as the perpetrator

of this exposure and masturbation event prior to the sexual abuse alleged in this case, but failed

to take appropriate steps to either apprehend John Prentice Hicks prior to this incident, prevent

him from using the WMA TA system, warn passengers of John Prentice Hicks' potential

presence and the danger to them, or maintain a safe environment for passengers.

        As can be expected, Plaintiff does not want her identity revealed as she does not want the

public to know that she was involved in this incident. Going through this horrific event has

damaged her mentally and physically and she does not want to relive this event over and over by

having her role in this incident made public. Plaintiff also fears reprisals should her identity be

revealed publicly.

        By this Motion, Plaintiff seeks to prevent their identity from being publicly disclosed in

this case, as the allegations are of a highly personal and sensitive nature. Moreover, Plaintiff and

her witnesses face a real threat of retaliation from the public should their identity be made public

in this lawsuit due to victim blaming.

                                           ARGUMENT

       The District of Columbia Superior Cowt Rules of Civil Procedure require that the title of

the complaint "include the names of all the parties" and further states that " [e]very action shall be

prosecuted in the name of the real party in interest." Super. Ct. Civ. R. 1 O(a); l 7(a). The District

of Columbia has seldom had occasion to interpret these rules in the context of a request by a

party to proceed under a pseudonym. However, federal courts have frequently addressed the



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issue when interpreting the virtually identical federal counterparts to these rules. Where, as here,

the Superior Court Rules and their federal counterparts are virtually identical, District of

Columbia courts may consider federal precedent as persuasive in interpreting District of

Columbia rules. See e.g., Walker v. District ÓfColumbia, 656 A.2d. 722, 725 (D.C. 1995).

        I.      Plaintiff's Request to Proceed Anonymously Complies with the Balancing
                Test Set Out By The U.S. District Court for the District of Columbia

        Although the Supreme Court has never formally acknowledged the permissibility of

using a pseudonym, federal trial and appellate courts have allowed parties to proceed

anonymously under circumstances such as those presented here. See Doe v..Megless, 654 F.3d

404,408 (3d. Cir. 2011 ). Detenn.irùng whether to allow a plaintiff to file under a pseudonym is

within the sound discretion of the trial court. United States v. Microsoft Corp, 56 F.3d 1448,

1464 (D.C. Cir. 1995); see also James v. Jacobsen, 6 F.3d 233, 238 (4th Cir. 1993). In

considering a request to allow a plaintiff to proceed pseudonymously, courts balance the public

interest in access to trials with the legitimate interests of the party making the request. See

National Association of Waterfront Employers v. Chao, 587 F. Supp. 2d 90, 98 (D.D.C. 2008).

The United States District Court for the District of Columbia has employed a five-factor

balancing test that considers:

       (1) Whether the justification asserted by the requesting party is merely to avoid the
       annoyance and criticism that may attend any litigation or is to preserve privacy in a
       matter of a sensitive and highly personal nature; (2) whether identification poses a risk of
       retaliatory physical or mental harm to the requesting party or even more critically, to
       innocent non-parties; (3) the ages of the persons whose privacy interests are sought to be
       protected; (4) whether the action is against a governmental or private party; and (5) the
       risk of unfairness to the opposing party from allowing an action against it to proceed
       anonymously.




                                                 3
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Id. at 99. A party may proceed anonymously where, as here, the majority of the factors militate

in that party's favor. See Id. Here, four of these five factors weigh strongly in favor of th.is Court

granting Plaintiff's request for leave to proceed under a pseudonym.

                A. Plaintiff Is Seeking to Preserve Privacy in a Matter of a Sensitive and
                   Highly Personal Nature,

         Plaintiff's request to proceed anonymously is strictly driven by her desire to preserve her

privacy in this highly sensitive and personal matter. This case involves a violent and extremely

humiliating non-consensual sexual encounter between Plaintiff and John Prentice Hicks. The

Complaint includes graphic descriptions of the various sex acts Plaintiff was forced to perform

on Mr. Hicks.      Commentators have recognized that involuntarily disclosing the identity of

victims of such acts results in real psychological harm to victims far more severe than "mere

embarrassment." See Paul Marcus & Tara L McMahon, Limiting Disclosure of Rape Victims'

Identities, 64 S. Cal. L. Rev. 1020, 1049 (1991). Further, many courts have held that the victim's

privacy interest in matters relating to sexual health and reproduction warrant permitting the

victim to proceed under a pseudonym. See, e.g., Doe v. Bodwin, 326 N.W. 2d 476 (Mich. Ct.

App. 1982) (finding the trial court erred by denying plaintiffs request to proceed anonymously in

case involving sexual impropriety of defendant); E.E. O C. v. ABJvl Indus., Inc., 249 F.R.D. 588,

593-94 (E.D. Cal. 2008) (permitting plaintiff to proceed under pseudonym in sexual harassment

case).

         Plaintiff is not making this request to simply avoid the annoyance and criticism that

comes with the litigation process.      This is much deeper and more personal than that.          The

allegations in this case are of a highly sensitive and personal nature, and so the first factor of the

Chao test clearly weighs in favor of allowing Plaintiff to proceed anonymously.




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                B. Identifying Plaintiff in this Lawsuit Poses a Risk of Retaliatory Physical
                   and/or Mental Harm to Plaintiff and Innocent Non-Parties.

        This case poses a real risk of emotional harm to Plaintiff and innocent non-parties

including their family should Plaintiff be identified in this case. It is likely based on the

allegations contained in their Complaint that this case will lead to media publicity as Mr. Hick's

conviction has already garnered media coverage and Defendant WMATA has made public

statements about this incident. Identifying Plaintiff would allow the media and others to contact

Plaintiff and her family to discuss the case and would increase the chances that Plaintiff would

have to relive this incident unnecessarily. This would only cause Plaintiff more mental harm and

anguish as this incident has obviously caused her a lot of distress and embarrassment and has

changed her life forever. Plaintiff has chosen not to share this incident with her family due to its

embarrassing and humiliating nature, and so if Plaintiff is forced to reveal her identity, it is likely

that Plaintiffs family will learn of the incident and will be harmed as well. Learning that their

loved one has gone through such a horrendous experience would cause a great deal of harm to

Plaintiffs family. She has chosen to protect them from this, and so forcing Plaintiff to identify

herself would be an unduly prejudicial invasion of Plaintiffs privacy and would almost certainly

lead to unnecessary mental anguish and harm to Plaintiff.

        Identifying Plaintiff also poses a real risk of retaliation towards Plaintiff and Plaintiff's

family by Mr. Hicks' family and friends or by other groups who believe in victim blaming. Mr.

Hicks was given a lengthy jail sentence for his actions and so it is conceivable that his family and

friends would harbor anger towards Plaintiff and her family for taking away their friend and

family member. There are also people who believe that victims are to blame for incidents like

this and so they may take offense to the fact that a victim is seeking justice for the wrongs

committed against her.


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        For these reasons, the second Chao factor weighs heavily in favor of allowing Plaintiff to

proceed anonymously.

                C. All Parties to this Action are Non-Government Entities.

        This action involves a private citizen and Defendant WMATA which is a non­

governmental organization. Therefore, the fourth Chao factor also weighs in favor of Plaintiff

proceeding under a pseudonym.

                D. There is No Risk of Prejudice or Unfairness to Defendant WMATA.

        Allowing Plaintiff to proceed anonymously will not be unfair to or prejudice Defendant

WMATA. First, Defendant WMATA already knows Plaintiff's identity as there was a criminal

trial and police officers employed by Defendant WMATA were involved in the matter.

Moreover, once the requested relief is granted, Plaintiff will file as Exhibit A (Filed under Seal)

an affidavit that sets forth her identity. The sealed Affidavit will be served, along with this

Motion and the Complaint, on the Defendant. In addition, Plaintiff will not object to engaging in

any discovery otherwise permitted by the District of Columbia rules as long as the parties are

able to agree to a protective order that protects Plaintiffs identity from public disclosure.

Conducting this case in this manner results in no risk of unfairness to the Defendant.          See

Plaintiff B. v. Francis, 631 F3d 131 O, 1315 (11th Cir. 2011) (citing Doe v. Smith, 429 F.3d 706,

71 O (7th Cir. 2005)).

        Whether Plaintiff's identity is public is of no consequence to Defendant WMATA and

will have no impact on its ability to litigate this case. As such, the fifth Chao factor also weighs

in favor of allowing Plaintiff to proceed anonymously.

                                         CONCLUSION




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        This case falls squarely within the class of cases in which courts have permitted plaintiffs

to proceed anonymously. The highly sensitive and embarrassing nature of the factual allegations

paired with the real risk of physical or mental harm to Plaintiff and their family weigh strongly in

favor of allowing Plaintiff to proceed under a pseudonym. Moreover, because Plaintiff is willing

to disclose their identity in a sealed affidavit and to cooperate with Defendant's reasonable

discovery requests, there is no real risk of unfairness to the Defendant. Accordingly, Plaintiff

respectfully requests that this Court grant this Motion.


                                                      Respectfully submitted,




                                                      MC
                                                      Matthew P. Tsun,#1018952
                                                      Craig D. Miller, #459784
                                                      Michael C. Robinett, #503231
                                                      SIMEONE & MILLER, LLP
                                                      1130 Connecticut Ave, NW
                                                      Suite 350
                                                      Washington, DC 20036
                                                      (202) 628-3050
                                                      Fax: (202)466-1833
                                                      mtsu11@si.meonemiller.com
                                                      cmiller@simeonemiller.com
                                                      mrobinett@simeonemiller.com
                                                      Counsel for Plaintiff




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                              RULE 12-1 CERTIFICATION

        As this Motion is being made ex parte prior to serving of the summons and complaint,
there are no parties to consult for consent.



                                          Ma:ftfii=
                              CERTIFICATE OF SERVICE

        I HEREBY CERTIFY that a copy of the foregoing will be served contemporaneously
with the summons and complaint upon the following:


WASHINGTON METROPOLITAN AREA TRANSIT AUTHORJTY
600 5th Street, NW
Washington, DC 20001

      SERVE:
      Susan Senian
      600 5th Street, NW
      Washington, DC 20001




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      Case 1:19-cv-01298-KBJ Document 2-1 Filed 05/06/19 Page 23 of 26




                                RULE 12-1 CERTIFICATION

        As this Motion is being made ex parte prior to serving of the summons and complaint, there
are no parties to consult for consent.



                                             ~




                                CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a copy of the foregoing will be served contemporaneously with
the summons and complaint upon the following:


WASHINGTON METROPOLITAN AREA TRANSIT AUTHORITY
600 5th Street, NW
Washington, DC 20001

       SERVE:
       Susan Serrian
       600 5th Street, NW
       Washington, DC 20001




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                THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                                           Civil Division

JAi'\ffi   DOE

                           Plaintiff,
                                                            Case No.:
v.                                                          Calendar No.:
                                                            Judge:
WASHINGTON METROPOLITAN
AREA TRANSIT AUTHORITY

                           Defendant.


                            AFFIDAVIT OF MATTHEW P. TSUN
           Comes now Matthew P. Tsun, attorney at SJMEONE & MILLER, LLP and affíant

herein. and states as follows:
           l.      Affìant makes this affidavit based upon his personal knowledge and

information.

           2.      Affíant is an adult over l 8 years of age who maintains a business address
at 1130 Connecticut Ave.• NW. Suite 350, Washington, DC 20036.
           3.      Affi ant affirms that the legal name of the individual identified as Jane Doe

in the Complaint to this mauer is


Dated: April 3, 2019                                     RESPECTFULLY SUBMITTED,



                                                         ~



SUBSCRJBED AND SWORN TO before me this)~ day of April 2019.




                                                                     Notary Public
      Case 1:19-cv-01298-KBJ Document 2-1 Filed 05/06/19 Page 25 of 26




               THE SUPERIOR COURT FOR THE DISTRICT OF COLUMBIA
                                  Civil Division

 JANE DOE
                                                                                  FILED
                                                                        CIVTLACTJONS BRANCH
                        Plaintiff,
                                                   Case No.:                APR O 4 2019
 v.                                                                           Stip~Coun
                                                   Calendar No.:
                                                                              DiMri:oc of('ofombio
                                                                         of the
                                                   Judge:                     ~-siton, DC.
 WASHINGTON NIETROPOLITAN
 AREA TRANSIT AUTHORITY

                       Defendant.                                  -:1 9 - O .O 2 1 8 5
                                          ORDER

       Upon consideration of Plaintiffs Motion for Leave to Proceed under Pseudonym, it is

hereby this   Lfrh day of   ~ '2019,

       ORDERED, that Plaintiff's Motion for Leave to Proceed under Pseudonym is hereby

GRANTED; and

       IT IS FURTHER ORDERED that Plaintiff may proceed in this matter under the

pseudonyms "JANE DOE" in all pleadings and other documents; and it is further

       ORDERED, that Plaintiff shall serve a copy of this Order on the Defendant

contemporaneously with the Summons and Complaint.




                                                                                       umbia
      Case 1:19-cv-01298-KBJ Document 2-1 Filed 05/06/19 Page 26 of 26




Copv bv mail to:

Matthew P. Tsun, #1018952
Craig D. Miller, #459784
Michael C. Robinett, #503231
Simeone & Miller, LLP
1130 Connecticut Ave, NW
Suite 350
Washington, DC 20036
Counsel for Plaintiff

AND

WASHINGTON NffiTROPOLITAN AREA TRANSIT AUTHORJTY
6ÖO 5th Street, NW
Washington, DC 20001

      SERVE:
      Susan Serrian
      600 5th Street, NW
      Washington, DC 20001




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